 From:             Hjll Martjn l LCDR FACSFAC VACAPES OPS OpS
 To:               Gookin Patrjck W DLA C!V OFFICE OF JHE INSpECTOR GENERAL
 Cc:               Cushing Sean T CDR CO FACSFAC VACAPES CO ; Blake Jeffrey D CDR FACSFAC VACAPES XO
 Subject:          Dare Rolling Stock
 Date:             Monday, July 25, 2011 5:53:20 PM
 Attachments:      RE DLA VISIT AND FOLLOW-UP (4 .37 KB) .msg




 Patrick,

 Quick question on disposition of Dare Rolling stock. Local DRMO disposition guys have said that it's up
 to us to get the rolling stock up to St. Julien's Creek in Portsmouth for disposition. Lacking over the
 road trucks, truckers, or as witnessed the other day, proper tie-downs, this will involve someone
 throwing money at the problem to make it go away.

 Our ability to find funding, let a contract and get stuff moving may be somewhat limited. Some of the
 equipment out there is in great shape and only rotting sitting on our range without use or maintenance,
 it's not stuff we should ever use for targets and I'd like to get it out of there sooner than later. The
 option presented by the local DRMO folks was to "have our chain of command contact Battle Creek."

 Two questions; One, do you have any POC's at Battle Creek that me might use to push that rope? Two,
 are shipping costs being wrapped up into any loss estimates and can we use that as ammo to fuel
 question one?

 Also, the small filing cabinet in the 2nd deck office is still undisturbed and even though we have 4 of
 everything else, we only had one set of boltcutters, Mark mourns them daily. I am on leave from the
 27th until Aug 8, Don Heaton is managing the range until 2 Sep and will be your POC if you need to
 visit the range, #1212 just won't get you in anymore.



 LAVA

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Case 2:14-cr-00014-D Document 170-25 Filed 04/22/16 Page 1 of 116411
